                      UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF TENNESSEE AT CHATTANOOGA


TERPSEHORE MARAS,

                              Plaintiff,

              v.

CHATTANOOGA NEWS CHRONICLE
611 E. Martin Luther King Blvd.
Chattanooga, TN 37403,

THEHUFFINGTONPOST, INC.
111 E. 18th Street
New York, NY 10003,

REPRESENTATIVE STEVE COHEN
2104 Rayburn House Office Building
Washington, DC 20515,
                                              Civil Action No. 1:21-cv-317
US DOMINION, INC.
1201 18th Street, Suite 210
Denver, CO 80202,

DOMINION VOTING SYSTEMS, INC.
1201 18th Street, Suite 210
Denver, CO 80202,

DOMINION VOTING SYSTEMS
CORPORATION
1201 18th Street, Suite 210
Denver, CO 80202,

MEDIA MATTERS FOR AMERICA
75 Broadway Street, Suite 202
San Francisco, CA 94111,




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OHIO INTELLIGENCE TIPS
2911 Beaumont Avenue
Massillon, OH 44647,

ROSS ELDER
2911 Beaumont Avenue
Massillon, OH 44647,

ALI ABDUL RAZAQ AKBAR A/K/A ALI
ALEXANDER
5125 Pinellas Avenue
Keller, TX 76244

                            Defendants.


                                 NOTICE OF REMOVAL

   1. Pursuant to 28 U.S.C. §§ 1442 and 1446, Defendant, the Honorable Steve Cohen, U.S.

      Representative for the 9th congressional district of Tennessee, hereby removes to this

      Court the complaint filed against him in the Circuit Court of Hamilton County, Tennessee

      by Plaintiff, Terpsehore Maras. See Am. Compl. (Nov. 29, 2021) (attached as Exhibit B);

      Docket Sheet (attached as Exhibit C).

   2. Ms. Maras alleges that Congressman Cohen defamed Plaintiff in a Twitter post made on

      his official account. Am. Compl. ¶¶ 62, 64. Specifically, Congressman Cohen shared a

      news article about Sidney Powell and the November 2020 election on his official Twitter

      account, though the tweet did not mention Plaintiff. Id. Plaintiff alleges that when

      “Defendants publish defamatory statements against Attorney Sidney Powell, the Kraken

      or any of Attorney Sidney Powell’s election fraud accusations and/or conclusions, the

      Defendants are defaming Plaintiff.” Am. Compl. ¶ 32. In addition to “compensatory

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      damages of not less than $1,700,000,000,” “punitive damages of not less than

      $1,700,000,000,” and expenses, costs, and interest, Ms. Maras seeks a “permanent

      injunction requiring the removal of Defendants’ statements that are determined to be false

      and defamatory and enjoining the Defendants from repeating such statements in the

      future.” Am. Compl. at 18-19.

   3. Removal of this action is appropriate pursuant to 28 U.S.C. § 1442(a)(4), inasmuch as (1)

      the claims brought against Congressman Cohen arise from his official capacity as a

      Member of Congress, and (2) Congressman Cohen can raise one or more colorable

      federal defenses to the Complaint, including but not limited to, sovereign immunity and

      failure to exhaust administrative remedies under the Federal Tort Claims Act.

   4. Removal of this action is timely under 28 U.S.C. § 1446(b)(1). Congressman Cohen

      received a copy of the initial pleadings on November 29, 2021, and filed this Notice

      within the 30-day statutory time limitation.

   5. Contemporaneously with the filing of this Notice, a copy of the Notice is being lodged

      with the Clerk of the Circuit Court for Hamilton County, Tennessee. See 28 U.S.C.

      § 1446(d).

                                            Respectfully submitted,

                                             /s/ Douglas N. Letter
                                            DOUGLAS N. LETTER (D.C. Bar No. 253492)
                                              General Counsel
                                            TODD B. TATELMAN (VA Bar No. 66008)
                                              Principal Deputy General Counsel
                                            SARAH CLOUSE (MA Bar No. 688187)
                                              Associate General Counsel




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                                             OFFICE OF GENERAL COUNSEL
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                                             Washington, D.C. 20515
                                             (202) 225-9700 (telephone)
                                             (202) 226-1360 (facsimile)
                                             douglas.letter@mail.house.gov

                                             Counsel for Congressman Steve Cohen


December 27, 2021




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 Attorneys in the U.S. House of Representatives Office of General Counsel are “entitled, for the
purpose of performing the counsel’s functions, to enter an appearance in any proceeding before
any court of the United States or of any State or political subdivision thereof without compliance
with any requirements for admission to practice before such court.” 2 U.S.C. § 5571(a).

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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 27, 2021, I caused the foregoing document to be filed

via the CM/ECF system for the U.S. District Court for the Eastern District of Tennessee and

served a copy via electronic mail on the following non-registered CM/ECF filers:

       Russell A. Newman
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       Suite 108-22
       Brentwood, TN 37027
       russell@thenewmanlawfirm.com

       CHATTANOOGA NEWS CHRONICLE
       611 E. Martin Luther King Blvd.
       Chattanooga, TN 37403
       bell.hobbslaw@gmail.com,

       US DOMINION, INC.
       DOMINION VOTING SYSTEMS, INC.
       DOMINION VOTING SYSTEMS CORPORATION
       1201 18th Street, Suite 210
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       ROSS ELDER
       OHIO INTELLIGENCE TIPS
       2911 Beaumont Avenue
       Massillon, OH 44647
       elder.ross.writes@gmail.com,

And via FedEx delivery on the following non-registered CM/ECF filers:

       THEHUFFINGTONPOST, INC.
       111 E. 18th Street
       New York, NY 10003,




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      MEDIA MATTERS FOR AMERICA
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      San Francisco, CA 94111,

      ALI ABDUL RAZAQ AKBAR A/K/A ALI ALEXANDER
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      Keller, TX 76244

                                   /s/ Douglas N. Letter
                                   DOUGLAS N. LETTER




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